AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



                                        UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                                      JUDGMENT IN A CRIMINAL CASE
                                                                              (For Revocation of Probation or Supervised Release)
          V.                                                                  (For Offenses Committed On or After November 1, 1987)



W ILLIAM LAMONT HAYNES                                                        Case Num ber: DNCW 304CR000250-018
                                                                              USM Num ber:

                                                                              Steven Slawinski
                                                                              Defendant’s Attorney

THE DEFENDANT:
X     adm itted guilt to violation of condition(s) 1, 3-10 of the term of supervision.
      W as found in violation of condition(s) count(s)           After denial of guilt.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):
                                                                                                     Date Violation
 Violation Num ber                    Nature of Violation                                            Concluded

 1                                    New law violation                                              1/21/10

 3&4                                  Unauthorized travel                                            2/12/10

 5                                    Failure to m aintain lawful em ploym ent                       3/5/10

 6                                    Failure to report change in residence                          3/5/10

 7                                    Drug alcohol use                                               12/14/09

 8                                    Failure to refrain contact with persons involved in            12/14/09
                                      crim inal activity

 9 & 10                               Failure to report contact with law enforcem ent officer        2/15/10

       The Defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

X         The Defendant has not violated condition(s) 2 and is discharged as such to such violation(s) condition.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.

                                                                              Date of Im position of Sentence: 7/1/10




                                                                                 Signed: August 20, 2010



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Defendant: W ILLIAM LAMONT HAYNES                                                                       Judgm ent-Page 2 of 2
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                                                                  IM PRISONM ENT

        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
term of ELEVEN (11) MONTHS.




 X        The Court m akes the following recom m endations to the Bureau of Prisons:

          Participation in any available substance abuse treatm ent program and receive any benefits from that program .
          Participation in any vocational program s.

 X        The Defendant is rem anded to the custody of the United States Marshal.

          The Defendant shall surrender to the United States Marshal for this District:

                               As notified by the United States Marshal.

                                At___a.m . / p.m . on ___.

          The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                               As notified by the United States Marshal.

                                Before 2 p.m . on ___.

                               As notified by the Probation Office.

                                                                        RETURN

          I have executed this Judgm ent as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.


                                                              ___________________________________________
                                                              United States Marshal


                                                    By:       _______________________________________
                                                              Deputy Marshal




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